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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
 __________________________________________
                                               )
 ANDY KIM, in his personal capacity as a       )
 candidate for U.S. Senate, et al.,            )
                                               )
          Plaintiffs                           )
                                               )
     v.                                        )    Civ. A. No.
                                               )    3:24-1098-ZNQ-TJB
 CHRISTINE GIORDANO HANLON, in her             )
 official capacity as Monmouth County          )
 Clerk, et al.,                                )
                                               )
          Defendants                           )
 __________________________________________)


     PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
             EMERGENCY MOTION FOR A STAY PENDING APPEAL

        Plaintiffs, through undersigned counsel, respectfully submit this memorandum of law in

 opposition to the motion by the Clerks of Atlantic, Bergen, Camden, Cape May, Cumberland,

 Essex, Gloucester, Hunterdon, Mercer, Monmouth, Morris, Passaic, Somerset and Union

 Counties1 for a stay pending appeal. Notably, of the 19 defendants in this matter, the Clerks of

 Middlesex,2 Ocean and Warren Counties never joined in the stay motion, and the Clerks of

 Burlington and Hudson Counties initially joined in the stay motion, but later withdrew and

 abandoned their participation in it. That leaves a total of five defendant clerks who are not

 pursuing a stay pending appeal (Burlington, Hudson, Middlesex, Ocean, Warren)3 and are

 presumably on track to comply with the Court’s Order enjoining certain ballot design practices
 1
         See DE198. Following the filing of this motion, the Clerk of Bergen County joined the
 stay motion (DE205), along with intervenor Camden County Democratic Committee (DE204).
 However, the County Clerks in Burlington and Hudson Counties abandoned their participation in
 the stay motion (DE208, 209).
 2
         The Middlesex clerk joined in the notice of appeal (DE200), but not in the stay motion.
 3
         Two other counties, Salem and Sussex, already use an office block ballot and thus were
 not named as Defendants in this case.
                                                  1
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 and directing the use of the only feasible alternative – an office block ballot. Collectively with

 the two counties who are named only as Interested Parties in this action (Salem and Sussex),

 seven of the state’s 21 counties appear poised to offer office block ballots for the 2024 primary

 election based on prior practices (2 counties) or the Court’s Order (5 counties).4

        The emergency stay motion filed at DE198 offers but a single ground for granting the

 motion: “that implementing an entirely new style of ballot . . . presents an undue risk to the

 administration of this year’s primary elections” and that these risks “do not outweigh the harm

 Plaintiffs would suffer under the current balloting systems.”

        The joinder in the motion at DE204 presents no further grounds or argument in support of

 a stay. The joinder at DE205 presents two additional grounds: the failure to name indispensable

 parties, and the uncertainty created by the Morris County Republican Committee’s (“MCRC”)

 clarification request (DE196), which no party responded to, but which was resolved by the grant

 of the clarification request (DE207) less than 24 hours after it was filed.

        While the Defendants’ appeal may argue additional points, the stay application is limited

 to those points expressly raised in their emergency motion, and those are the only contentions the

 moving Defendants are presenting to this Court and they will accordingly be limited to those

 points in any eventual stay-pending-appeal motion before the Circuit Court:

        For an argument to be preserved on appeal it must be presented “together with
        supporting arguments and citations.” . . . “It is well settled that if an appellant fails
        to comply with these requirements on a particular issue, the appellant normally
        has abandoned and waived that issue on appeal and it need not be addressed by
        the court of appeals.
 4
          An eighth clerk, Essex County Clerk Chris Durkin, has yet to formally withdraw from the
 emergency stay application, but on information and belief, has confirmed his ability to draw
 office-block ballots, and has stated his intention to design ballots pursuant to the Court’s order.
 https://twitter.com/ChrisJDurkin/status/1774612051970638150 (“I am in favor of block ballot
 voting. I am confident Essex County will conduct a fair and free election. Our ballots will be
 clear and concise to voters. The voting systems we have in Essex County are the best in New
 Jersey”).
                                                     2
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        Norman v. Elkin, 860 F.3d 111, 129 (3d Cir. 2017) (citations omitted).

        Put differently, an appeals court “need not address [a] conclusory, undeveloped

 accusation. . . . Generally, absent compelling circumstances an appellate court will not consider

 issues that are raised for the first time on appeal.” Guyton v. PECO Inc, 770 Fed. Appx. 623, 626

 (3d Cir. 2019) (cleaned up) (quoting Ross v. Hotel Employees & Rest. Employees Int'l Union, 266

 F.3d 236, 242 (3d Cir. 2001)).

        Turning now to the substance of Defendants’ stay application, Defendants do not dispute

 the high burdens they face. Stays pending appeal are “rarely granted,” Conestoga Wood

 Specialties Corp. v. Sec’y of U.S. Dep’t of Health & Human Servs., 2013 WL 1277419, *1 (3d

 Cir. Feb. 8, 2013). Before granting a stay pending appeal, this Court must determine: “(1)

 whether the appellant has made a strong showing of the likelihood of success on the merits; (2)

 will the appellant suffer irreparable injury absent a stay; (3) would a stay substantially harm other

 parties with an interest in the litigation; and (4) whether a stay is in the public interest.” In re

 Revel AC, Inc., 802 F.3d 558, 565 (3d Cir. 2015). The “bar” thus “is set particularly high.”

 Conestoga, 2013 WL 1277419, *1. The Defendants plainly fail to clear it here.

        1.      Substantial evidence before the Court indicates that there is no undue risk to
                the administration of the 2024 primary.

        The record evidence before the Court was clear on many levels that the various clerks,

 using the hardware and software they now deploy, already have the capability to print mail

 ballots, and to prepare electronic ballot interfaces for voting machines, with races presented in

 office-block ballot displays. There was also evidence before the Court that not only could they

 print office block ballot displays, but they had printed office-block ballot displays in prior




                                                    3
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 elections. Taken together, the Court rightly rejected the Clerks’ pleas that preparing mail and

 machine ballots by the relevant deadlines was infeasible. (DE194, pp. 42-46).

        As to what exactly was the relevant deadline, there was evidence before the Court that the

 April 5 deadline for preparing printer’s proofs of the ballot as it is going to appear is a fairly soft

 or flexible deadline. Plaintiffs submitted material showing that New Jersey state courts, applying

 state law, regularly relax that deadline when necessary to adjudicate claims of improper ballot

 design or to otherwise protect candidates’ rights under N.J.S.A. 19:13-12.5 See DE95, pp. 8-9

 (describing and citing DE95-1, Exhs. I to L (providing several examples of Orders by New

 Jersey state courts interpreting state law and modifying election deadlines accordingly) and New

 Jersey Democratic Party, Inc. v. Samson, 175 N.J. 178 (2002)). This evidence, in sum, shows

 that state courts do not view the printer’s proof deadline of April 5 as a firm or inflexible date

 that precludes granting judicial relief to candidates entitled to it. Rather, the April 20 deadline for

 mailing out ballots to military and overseas voters is a much firmer one, and even that is not

 completely fixed. See id. Finally, April 20 or thereabouts is not even the deadline for setting the

 display of in-person voting machines; as the Monmouth County Clerk testified, that deadline

 does not come until about a month later on May 22nd. (Tr. 367:1-4, “Typically we try to have the

 machines ready on or about May 22nd because there's testing that needs to be done, and they

 need to be -- you know, it takes time to get the machines out to the polling locations before May

 29th, I believe, is the date of early voting. And there needs to be time for the public to inspect the

 numbers. There’s statutory requirements about that.”).
 5
         Indeed, it is telling that the statutory deadline to file a challenge to protect candidates’
 rights with respect to their ballot position (12 days after petition filing deadline, here April 6,
 2024) comes after the statutory deadline for preparing the printer’s proof (60 days before the
 election, here April 5, 2024). See DE 161, Exh. D-4. Moreover, the statutory deadline to protect
 candidates’ rights in court is tied merely to the filing of such action, not to its resolution. Thus,
 by statutory design, and consistent with common practice in every election cycle, challenges to
 ballot position and placement are routinely resolved after the printer’s proof deadline.
                                                     4
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        The written expert reports from an experienced computer scientist and voting machine

 expert, Dr. Appel, made clear that all the software and hardware used in New Jersey could easily

 proceed with office-block ballot displays. (DE95, Exh. D (Appel Cert.)). He, along with Mr.

 Macias and Mr. Perez, both experienced voting technology experts, also made clear that for a

 clerk to transition from a county-line primary ballot to an office-block display, is a relatively

 easy task, taking a few hours, or a day at most, and may actually be easier to program and check

 in its totality. See DE95, Exh. C, para. 27 (Perez concludes that based on “15+ years of voting

 technology industry experience, including training, implementation, product management,

 certification, and competitive bidding processes” that “I would be surprised if the task of copying

 a previously finalized election definition in order to apply a new ballot layout would take more

 than a few hours at the most”); DE-115-1, para. 34 (Macias states that a ballot not using

 county-line format “should take less time to program in the voting system, and more importantly

 take less time and resources for an election official or their vendor to conduct ballot proofing, as

 well as logic and accuracy testing”). In this manner, the visual bias and confusion that the

 county-line ballot design forces on voters similarly impacts the time and effort expended by

 election administrators and vendors to proof them.

        Similarly, it was demonstrated that the New Jersey voting systems in use today are

 actually presenting electoral contests to voters in office block format with their existing

 equipment. Among other things:

            ● Monmouth County uses ES&S Electionware for general election management,

                ballot definition files, and ballot design. Specifically, it uses ExpressVote XL for

                in-person voting and the ES&S products in the DSx50 line for mail-in voting

                tabulation. Monmouth is demonstrably able to prepare an all-office-block ballot



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                with this equipment. (DE95-1, Exh. B, Monmouth Ballot). The same software,

                and make of machine and mail-in vote tabulator is also used in 12 other counties

                (13 including Monmouth). These are Atlantic, Cape May, Gloucester, Hudson,

                Hunterdon, Middlesex, Morris, Ocean, Passaic, Somerset, Union, and Warren

                Counties.

            ● Further, the Court has before it ballots from Atlantic, Hudson, and Morris

                Counties – using the same software and equipment – demonstrably showing they

                too have been able to prepare ballots presented in all-office-block or

                partial-office-block formats. (DE95-1, Exh. A, Morris Ballot, Exh. C, Hudson

                Ballot; DE95 (Appel Cert., Exh. A, Atlantic Ballot)). Notably, Hudson,

                Middlesex, Ocean, and Warren Counties either never joined or withdrew from the

                stay motion, effectively conceding that they will be implementing the Court’s

                order concerning ballot design in the 2024 primary elections.

            ● It logically follows that every county using ES&S equipment – including the

                ExpressVote XL for in-person voting and DSx50 series tabulator for mail-in

                voting – is able to present ballots in office-block display using existing equipment

                and is able to present the ballots ordered by the Court for the 2024 primary

                elections.6

            ● Mercer County, in 2022, used Dominion software (DE 63-2, Cert. of Nicole

                Nollette of Dominion Voting Systems, Inc.) for general election management,

                ballot definition files, and ballot design. It used the ImageCast series of equipment


 6
         The ExpressVote XL voting device used in New Jersey is used in four other states,
 Louisiana, New York, Delaware, and Pennsylvania. However, none of these other states use the
 New Jersey county-line style ballot layout, and use a grid-based template to offer an office-block
 display. (See Ryan Macias Expert Report, 115-1 at 12-13, 23-25; See also Tr. 97:15 -98:7.)
                                                    6
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               for in-person and mail voting. It was demonstrated that Mercer County was able

               to prepare ballots presented in all-office-block or partial-office-block formats.

               (DE95-1, Exhs. G, H). The Dominion voting system is currently also used in at

               least 5 other counties (6 including Mercer). These are Bergen, Burlington,

               Cumberland, Essex, and Salem Counties.

            ● Further, the Court had before it ballots from Burlington and Cumberland Counties

               – using the same software and equipment – demonstrably showing they too were

               able to prepare ballots presented in all-office-block or partial-office-block

               formats. (DE95-1, Exh. F, Cumberland Ballot; DE95 (Appel Cert., Exh. C,

               Burlington Ballot)). Additionally, Salem County already uses office-block format

               for all its races. And finally, Burlington County withdrew from the stay motion,

               effectively conceding its ability to implement the Court’s order concerning ballot

               design in the 2024 primary elections. See also supra n.4 (Essex County).

            ● It logically follows that every county using the Dominion ImageCast series of

               equipment is able to present ballots in office-block display using existing

               equipment and is able to present the ballots ordered by the Court for the 2024

               primary elections.

        The two counties not mentioned here are Camden and Sussex. Sussex, a nondefendant

 who is listed as an Interested Party, already uses office-block format for all its races. Camden

 uses an ES&S precinct-based ballot marking device and tabulator (rather than the ExpressVote

 XL), which based on the evidence before the Court, is now and has been able to present ballots

 in office-block format. (DE95-1, Exhs. D, E, Camden Ballots).




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        From all of the foregoing, the proofs are clear: every county in the State is now able to

 present races in office-block format, and many have demonstrably done so in the past, using the

 same equipment.7 There is absolutely no credible evidence of an “undue risk to the

 administration of this year’s primary elections.”



                2.      There was no failure to join indispensable parties.

        During briefing before this Court, defendants advanced a hodge-podge of arguments

 about indispensable parties, arguing that one or more of these parties should be joined as

 defendants: (1) all county Republican and Democratic County Committees and all candidates

 benefited by the primary ballot design law (DE60, p. 10); (2) “direct opponents” of plaintiffs

 (DE61, p. 19); (3) county boards of election and superintendents of election (DE63, p. 39); or (4)

 “all local and state-wide political organizations” (DE50, p. 2.)

        In their joinder to the stay motion (DE205), Defendant Bergen County Clerk does not tell

 the Court exactly which unnamed parties who received either actual or constructive notice of this

 litigation,8 and chose not to appear, are still “indispensable,” or why they are indispensable. A

 total of three lines of text is spent on the issue. In any event, the Court’s opinion thoroughly


 7
         See Ryan Macias Expert Report, DE 115-1, Conclusions at 27-29; Macias Supplemental
 Report, DE 171; Andrew Appel Supplemental Report, DE 95, Exh. D.
 8
         See DE8 and 12 for a list of the parties who were actually furnished with copies of
 Plaintiffs’ initial papers. Because of the attention given to this matter in media and political
 circles, Plaintiffs’ position is that all of these putative unjoined parties had at least constructive,
 and probably actual, notice of the pendency of matter.

 Indeed, one party committee (the CCDC) (DE41) successfully participated in this action as
 intervenor. Moreover, five candidates for federal and local office (DE90-4, -5, -6, -7, -8, DE 118)
 also participated in this action as amici. Several other amici parties participated as well, such as
 the Election Law Clinic of Harvard Law School, ACLU-NJ, the NJ Institute for Social Justice,
 the League of Women Voters of NJ, several Asian American organizations including the Asian
 American Legal Defense and Education Fund, and various law professors. A total of six briefs
 were filed on behalf of a range of amici voices.
                                                     8
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 canvassed each of the parties that the defendants claimed to be indispensable, carefully reviewed

 various grounds for mandatory joinder that might be asserted, and found all of them wanting.

 (DE194, pp. 8-14). Consequently, there have simply been no grounds asserted, much less proven,

 to show that this Court erred in its Rule 19 analysis or that there is any prospect it will be

 reversed on appeal.


        3.      Any uncertainty created by the request for clarification of the Court’s
                decision has been resolved.

        Another grounds raised for a stay pending appeal was that the MCRC’s request for

 clarification engendered “confusion throughout the State.” With this request pending, the clerks

 said they needed to know whether there are “now two separate and distinct ballot designs for the

 June 4th primary.” The Court’s letter order providing clarification (DE207) has now alleviated

 any supposed confusion or questions the Clerks may have had.9 Thus, this grounds for a stay

 pending appeal has been eliminated by events occurring after its filing, and even if it could ever

 have stood as grounds for a stay, it no longer can.




 9
        It is worth noting that, just as the County Clerks have designed ballots using all-office
 block ballot layouts and hybrid ballots that include both a county-line ballot design and office
 block designs, at least one county has designed primary ballots for each major party in different
 layouts. For example, until recently, prior to 2021, the Morris Clerk designed office block
 displays for Republican primary ballots while designing county-line displays for Democratic
 primary ballots. (DE1, at ¶ 55; DE1-3, p. 21.) Plaintiffs submitted proofs illustrating the 2020
 primary ballot in Morris County, which displays the use of county-line ballots for the Democratic
 Party primary ballot, and the use of office-block ballots for the Republican Party primary ballot.
 (DE 1-1, Exh. A at 46, 47.)
                                                       9
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                                       CONCLUSION

        The Court should deny the motion for stay pending appeal.


                                    Respectfully submitted,



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        By: /s/ Brett M. Pugach                           By: /s/ Yael Bromberg
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        Date: April 1, 2024




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